               Case 3:17-cv-00192-AJB-MSB Document 53 Filed 05/08/18 PageID.1239 Page 1 of 30




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                        7
                          Attorneys for Plaintiff, SATMODO, LLC
                        8
                        9                         UNITED STATES DISTRICT COURT
                       10                      SOUTHERN DISTRICT OF CALIFORNIA
                       11
                       12 SATMODO, LLC, a California limited            Case No. 17-CV-0192-AJB NLS
                          liability company,
                       13                                               SUPPLEMENTAL DECLARATION
                                       Plaintiff,                       OF SCOTT J. IVY IN SUPPORT OF
                       14                                               MOTION FOR DETERMINATION
                                  v.                                    OF DISCOVERY DISPUTE NO. 1
                       15
                          WHENEVER COMMUNICATIONS,                      Judge: Hon. Nita L. Stormes
                       16 LLC, d.b.a. SatellitePhoneStore.com, a
                          Nevada limited liability company,
                       17 HENAA BLANCO, an individual, and              Action Filed: February 1, 2017
                          DOES 1 through 50, inclusive,                 Trial Date:   None Set
                       18
                                       Defendants.
                       19
                       20
                       21        I, Scott J. Ivy, declare as follows:
                       22        1.     I am an attorney duly admitted to practice before the Courts of the State of
                       23 California and before this Court. I am Of Counsel in the law firm of McCormick,
                       24 Barstow, Sheppard, Wayte & Carruth LLP, attorneys of record for Plaintiff,
                       25 SATMODO, LLC (“Plaintiff”) in the above-entitled action. If called as a witness, I
                       26 would and could competently testify to all facts stated herein from my personal
                       27 knowledge except where stated upon information and belief and, as to these matters, I
                       28 am informed and believe them to be true.
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP                                                                                   17-CV-0192-AJB NLS
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            SUPP. DECL. IVY IN SUPPORT MOTION OF FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:17-cv-00192-AJB-MSB Document 53 Filed 05/08/18 PageID.1240 Page 2 of 30




                        1         2.    I am submitting this Supplemental Declaration in support of Plaintiff’s
                        2 Motion For Determination of Discovery Dispute No. 1.
                        3         3.    On April 23, 2018, I took the deposition of Thikra Boles, the head of the
                        4 billing department for Defendant Whenever Communications. I received a copy of the
                        5 transcript yesterday, May 7th. A true and correct copy of the deposition transcript is
                        6 attached hereto as Exhibit 1.
                        7         4.    During the deposition, I went through the “List” of devices that Whenever
                        8 claims as part of this Motion represents the devices used by Whenever employees that
                        9 justifies Whenever’s failure to respond to Interrogatories listing specific information as
                       10 to all devices used by Whenever employees and the refusal to allow inspection of the
                       11 devices. A true and correct copy of the List shown to Ms. Boles during the deposition
                       12 is attached hereto as Exhibit 2.
                       13         5.    With respect to the completeness of the List, i.e. whether it identifies all
                       14 devices used by Whenever or its agents in the past 2 years, even if they have been
                       15 discarded or are otherwise no longer in use, and whether any of the devices actually
                       16 identified may have been altered or wiped after Plaintiff’s sent Defendants an evidence
                       17 preservation letter in September 2016, Ms. Boles testified that:
                       18                (a)    It is Ms. Boles’ understanding that in the time frame September
                                  2016 to the present, “most, if not all, of Whenever employees have swapped out
                       19
                                  their older IPhone for a new version.” (Boles Depo. p. 40-41.)
                       20
                                         (b) In the last few months, several employees, including Ms. Boles, had
                       21
                                  their work desktop computers replaced. (Boles Depo. p. 51-52.)
                       22
                                         (c) Several employees, including all of the sale staff and Ms. Shores,
                       23
                                  received laptops from Whenever during the last 2-3 years. (No laptops are
                       24         identified in the List.) (Boles Depo. p. 30-34, 47-48, 72.)
                       25
                                         (d) In December 2016/January 2017, after Defendants Whenever and
                       26         Ms. Blanco received an evidence preservation letter from Plaintiff’s attorneys,
                                  Ms. Blanco “gifted” a new cell phone to sales agent Sue Shores to replace her
                       27
                                  existing cell phone and had Ms. Boles move “some” of the information to her
                       28         laptop and then to her “new” phone. (Boles Depo. p. 30-32.)
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP
7647 NORTH FRESNO STREET
                                                                       2                         17-CV-0192-AJB NLS
    FRESNO, CA 93720            SUPP. DECL. IVY IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:17-cv-00192-AJB-MSB Document 53 Filed 05/08/18 PageID.1241 Page 3 of 30




                        1                    (e) Ms. Shores also has a tablet (Ipad Mini) that was not disclosed on
                                     the list, and that Ms. Boles “wiped” and reformatted in December 2016/January
                        2
                                     2017, after Defendants Whenever and Ms. Blanco received an evidence
                        3            preservation letter from Plaintiff’s attorneys. (Boles Depo. p. 35-37.)
                        4
                                            (f)    Whenever employee Jeff Krause has had two cell phones over the
                        5            past several years, one replaced by a newer one. (The List does not identify any
                                     cell phones for Mr. Krause.) (Boles Depo. p. 54-56.)
                        6
                        7
                                     I declare under penalty of perjury under the laws of the United States of America
                        8
                            that the foregoing is true and correct and that this Declaration was executed by me on
                        9
                            May 8, 2018, at Fresno, California.
                       10
                       11
                                                                                       /s/ Scott J. Ivy
                       12                                                                Scott J. Ivy
                                                                                            Email:
                       13                                                      Scott.Ivy@mccormickbarstow.com
                       14                                                Attorneys for Plaintiff, SATMODO, LLC

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MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP
7647 NORTH FRESNO STREET
                                                                          3                         17-CV-0192-AJB NLS
    FRESNO, CA 93720               SUPP. DECL. IVY IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
               Case 3:17-cv-00192-AJB-MSB Document 53 Filed 05/08/18 PageID.1242 Page 4 of 30




                        1         SATMODO, LLC v. WHENEVER COMMUNICATIONS, LLC, d.b.a.
                                                 SatellitePhoneStore.com, et al.
                        2
                            United States Eastern District of California, Southern District of California Case No.
                        3                                  17-CV-0192-AJB NLS
                        4 Exhibits To Supplemental Declaration of Scott J. Ivy in Support of Motion For
                          Determination Of Discovery Dispute No. 1.
                        5
                        6             DESCRIPTION                    LOCATION              PAGE NO.

                        7   Deposition Transcript of Thikra Boles
                            taken on April 23, 2018, in the matter of
                        8   Satmodo, LLC. v. Whenever                          Exhibit A
                            Communications, LLC, USDC Southern                                           1
                        9   District of California, Case No. 17-CV-
                            0192 (select pages)
                       10
                       11   Copy of the List of IP addresses marked
                            as Exhibit 2 to the Deposition of Thikra           Exhibit B                25
                       12   Boles taken in this matter on April 23,
                            2018
                       13
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MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP
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                                                                        4                         17-CV-0192-AJB NLS
    FRESNO, CA 93720             SUPP. DECL. IVY IN SUPPORT OF MOTION FOR DETERMINATION OF DISCOVERY DISPUTES
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      THIKRA BOLES                                               April 23, 2018
      SATMODO vs WHENEVER COMMUNICATIONS                                      1

·1· · · · · · · · · UNITED STATES DISTRICT COURT

·2· · · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

·3

·4·   SATMODO, LLC, a California limited
· ·   liability company,
·5
· ·   · · · · · · · · · · Plaintiff,
·6
· ·   · ·vs.· · · · · · · · · · · · · · · · · · CASE NO.:
·7·   · · · · · · · · · · · · · · · · · · · · · 17-CV-0192-AJB NLS
· ·   WHENEVER COMMUNICATIONS, LLC, d.b.a.
·8·   SatellitePhoneStore.com, a Nevada
· ·   limited liability company, HENAA
·9·   BLANCO, an individual, and DOES 1
· ·   through 50, inclusive
10
· ·   · · · · · · · · · · Defendants.
11·   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

12

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14

15· · · · · · · · · · · · DEPOSITION OF
· · · · · · · · · · · · · ·THIKRA BOLES
16

17· · · · · · · · · · · · ·APRIL 23, 2018
· · · · · · · · · · 9:01 A.M. TO 11:17 A.M.
18

19· · · · · · · · 402 WEST BROADWAY, SUITE 1550
· · · · · · · · · ·SAN DIEGO, CALIFORNIA 92101
20

21

22· · Aletha Loftfield, CSR No. 13767

23

24

25


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      THIKRA BOLES                                               April 23, 2018
      SATMODO vs WHENEVER COMMUNICATIONS                                      2

·1· · · · · · · · · ·APPEARANCES OF COUNSEL

·2

·3· ·FOR THE PLAINTIFF:

·4·   ·   ·   ·MCCORMICK, BARSTOW, SHEPPARD, WAYTE & CARRUTH LLP
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· ·   ·   ·   ·FRESNO, CALIFORNIA 93720
·6·   ·   ·   ·559.433.1300
· ·   ·   ·   ·SCOTT.IVY@MCCORMICKBARSTOW.COM
·7
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·8
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·9·   ·   ·   ·BY:· MATTHEW V. HERRON, ESQ.
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10·   ·   ·   ·SUITE 880
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11·   ·   ·   ·619.233.4122
· ·   ·   ·   ·MHERRON@HERRONLAWAPC.COM
12

13· ·ALSO PRESENT:

14·   ·   ·   ·TINA BLANCO, WHENEVER COMMUNICATIONS
· ·   ·   ·   ·JEFF MAYER, SATMODO
15·   ·   ·   ·MIKE MIKLIA, SATMODO
· ·   ·   ·   ·SCOTT LINDSEY, SATMODO
16

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     THIKRA BOLES                                                April 23, 2018
     SATMODO vs WHENEVER COMMUNICATIONS                                       3

·1· · · · · · · · · · INDEX OF EXAMINATION

·2

·3· ·WITNESS:
· · ·THIKRA BOLES
·4

·5

·6· ·EXAMINATION BY:· · · · · · · · · · ·PAGE
· · ·MR. IVY· · · · · · · · · · · · · · · ·5
·7

·8

·9

10· · · · · · · · · ·INFORMATION REQUESTED

11· · · · · · · · · · · · · ·(NONE)

12

13

14· · · · · · · · · ·INSTRUCTION NOT TO ANSWER

15· · · · · · · · · · · · · ·(NONE)

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      THIKRA BOLES                                               April 23, 2018
      SATMODO vs WHENEVER COMMUNICATIONS                                      4

·1· · · · · · · · · · ·INDEX OF EXHIBITS

·2

·3· ·NO.· · · · · DESCRIPTION· · · · · · · · · · · · · PAGE

·4·   ·EXHIBIT 1· · NOTICE OF TAKING DEPOSITION OF· · · · ·5
· ·   · · · · · · · THIKRA BOLES
·5
· ·   ·EXHIBIT 2·   ·   DOCUMENTS ENTITLED "COMPLETE IP· · · ·27
·6·   · · · · · ·   ·   ADDRESS INVENTORY FOR ALL
· ·   · · · · · ·   ·   BUSINESS LOCATIONS, HOME AND
·7·   · · · · · ·   ·   MOBILE SOURCES" AND "WHAT'S MY
· ·   · · · · · ·   ·   IP"
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     THIKRA BOLES                                                April 23, 2018
     SATMODO vs WHENEVER COMMUNICATIONS                                       5

·1· · · · · · · · DEPOSITION OF THIKRA BOLES
·2· · · · · · · · · · MONDAY, APRIL 23, 2018
·3
·4· · · · · · · · · · · ·THIKRA BOLES,
·5· · · having been duly administered an oath by the Court
·6· · · ·Reporter, was examined and testified as follows:
·7
·8· · · · · · · · · · · · EXAMINATION
·9· ·BY MR. IVY:
10· · · ·Q· · Please state your full name for the record and
11· ·spell it.
12· · · ·A· · Thikra Boles, T-h-i-k-r-a B-o-l-e-s.
13· · · ·Q· · Good morning, Ms. Boles.
14· · · · · · My name is Scott Ivy.· I represent Satmodo in
15· ·this case.
16· · · · · · Hand you what we've marked as Exhibit 1, which
17· ·is the Notice of Taking Deposition.
18· · · · · · (Deposition Exhibit 1 was marked for
19· · · · · · identification by the Court Reporter.)
20· ·BY MR. IVY:
21· · · ·Q· · Have you seen this before today?
22· · · · · · MR. HERRON:· I think she received a subpoena.
23· ·BY MR. IVY:
24· · · ·Q· · Okay.· Look through what will be three pages
25· ·then, and there's a subpoena there.


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                                                                                YVer1f




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Case 3:17-cv-00192-AJB-MSB Document 53 Filed 05/08/18 PageID.1248 Page 10 of 30

    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       30

·1· ·up the process.
·2· · · ·A· · Okay.
·3· · · ·Q· · Who's Sue Shorees?
·4· · · · · · Tell me how to say it first.
·5· · · ·A· · Sue Shorees.
·6· · · ·Q· · Shorees.
·7· · · ·A· · She's a coworker of mine, Tina's sister.
·8· · · ·Q· · What does she do at Whenever?
·9· · · ·A· · She's a sales agent.
10· · · ·Q· · How long has she worked for Whenever, to your
11· ·knowledge?
12· · · ·A· · Since I've been there, she's been there.               I
13· ·don't know how much longer.
14· · · ·Q· · And then Sue, here, lists two cell phones.
15· · · · · · To your knowledge, how many cell phones does
16· ·Sue have?
17· · · ·A· · Two.
18· · · ·Q· · Do you know if she's ever had any other cell
19· ·phones other than the two?
20· · · ·A· · Meaning other lines of service or...
21· · · ·Q· · Sure.
22· · · ·A· · Other lines, no.· I don't know.
23· · · ·Q· · What types of cell phone does Sue Shorees have?
24· · · ·A· · iPhones.
25· · · ·Q· · Has that always been the same?


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       31

·1· · · ·A· · I believe so.
·2· · · ·Q· · In the last two years, do you know if Sue
·3· ·Shorees has replaced any of her iPhones?
·4· · · ·A· · Yes.
·5· · · ·Q· · Tell me about that.
·6· · · ·A· · I know she had two phones that were, you know,
·7· ·broken or old.· She changed one, I think.· I don't know
·8· ·if she changed the secondary one, because it still looks
·9· ·the same.
10· · · ·Q· · And when was that?
11· · · ·A· · Maybe about a year and a half ago, year ago.
12· · · ·Q· · Okay.· Sometime in 2017?
13· · · · · · Trying to place.· We're in April now.
14· · · ·A· · Probably around the holidays, around that time
15· ·frame, 2016 holidays, maybe.
16· · · ·Q· · Holidays 2016?
17· · · ·A· · Yes.
18· · · ·Q· · There's lots of holidays.
19· · · · · · Christmas-ish?
20· · · ·A· · Christmastime, yeah.
21· · · ·Q· · December 2000- --
22· · · ·A· · Yeah, maybe.· Maybe January.· I'm not sure.
23· · · ·Q· · That's fine.
24· · · · · · And how do you know that Sue replaced one of
25· ·her iPhones at least sometime in December 2016, January


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       32

·1· ·2017?
·2· · · ·A· · Because she asked me to transfer the data and
·3· ·back it up for her on the new phone.
·4· · · ·Q· · Did she tell you why she was changing phones?
·5· · · ·A· · She had just gotten a new one as a gift.
·6· · · ·Q· · Do you know who gave her the gift of the new
·7· ·phone?
·8· · · ·A· · I mean, she didn't confirm it, but I believe
·9· ·the company.
10· · · ·Q· · Okay.· So as far as Sue goes, sometime in
11· ·December 2016 to January 2017, at least to your
12· ·understanding, the company got her a new iPhone, and so
13· ·she replaced her existing iPhone.· Fair?
14· · · ·A· · Yes.
15· · · ·Q· · Did you help her with that replacement?
16· · · ·A· · I helped her transfer the data, but I didn't
17· ·help with the gift or the purchasing of the phone, no.
18· · · ·Q· · What did you do to transfer the data?
19· · · ·A· · I loaded her information to an IOS and saved
20· ·it, and when she gave me the new phone, I put it on the
21· ·new phone.
22· · · ·Q· · Did you copy everything from her existing
23· ·phone?
24· · · ·A· · I don't remember.
25· · · ·Q· · Okay.· Could have copied some, could have


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                                EXHIBIT A - 8
                                                                                YVer1f




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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       33

·1· ·copied the full, you just don't recall?
·2· · · ·A· · Yeah.· I'm not sure if I copied everything or
·3· ·not.· I mean, I backed everything up, but I don't know
·4· ·if I transferred everything to the new phone.
·5· · · ·Q· · If we wanted to see the backup of her old
·6· ·phone, could we still find that?
·7· · · ·A· · It would be on her laptop if she still had the
·8· ·information.· I don't know.
·9· · · ·Q· · Why would it be on her laptop?
10· · · ·A· · She asked me to do it on her laptop.
11· · · ·Q· · Okay.· What kind of laptop did Sue have?
12· · · ·A· · I don't know the brand.· I just know it was a
13· ·laptop.
14· · · ·Q· · Like a laptop, like --
15· · · ·A· · Yes.
16· · · ·Q· · -- like your attorney's?
17· · · ·A· · Something similar.
18· · · ·Q· · Not a tablet?
19· · · ·A· · No.· It was a laptop.
20· · · ·Q· · Okay.· All right.· Let me back up a little bit.
21· · · · · · So Sue came to you and said, "I got a new phone
22· ·as a gift from the company," and then you backed up all
23· ·the data from her existing phone on to her laptop?
24· · · ·A· · Yes.
25· · · ·Q· · Okay.· And then loaded some of that information


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       34

·1· ·on to her new phone?
·2· · · ·A· · Yes.
·3· · · ·Q· · Okay.· Did she tell you why she wanted you to
·4· ·back it up to her laptop instead of a Whenever computer,
·5· ·desktop?
·6· · · ·A· · She didn't tell me why.
·7· · · ·Q· · Does Sue still have that laptop, to your
·8· ·knowledge?
·9· · · ·A· · I don't know.
10· · · ·Q· · When was the last time you saw it?
11· · · ·A· · Well, from -- I don't know if it's the same one
12· ·that she still uses or not.· I don't know if it was
13· ·replaced or if it is the same one.· The last time I --
14· ·I've only used it once, and that was at the time.
15· · · ·Q· · Whether you used it or not, when's the last
16· ·time you saw it?
17· · · ·A· · I mean, I see her have a laptop with her often.
18· ·If it's the same one, I'm not sure.
19· · · ·Q· · Can't tell?
20· · · ·A· · I don't -- no, I don't.
21· · · ·Q· · Does Sue currently use a laptop?
22· · · ·A· · I believe so.
23· · · ·Q· · Do you know who pays for that laptop?
24· · · ·A· · I believe the company gifted it.
25· · · ·Q· · Do you know when the company gifted Sue the


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                                EXHIBIT A - 10
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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       35

·1· ·laptop?
·2· · · ·A· · Two to three years ago.
·3· · · ·Q· · Do you know if the company pays for a data plan
·4· ·or Internet access for that laptop?
·5· · · ·A· · I don't know.
·6· · · ·Q· · Okay.· All right.· So for Sue, got two cell
·7· ·phones; right?
·8· · · ·A· · Yes.
·9· · · ·Q· · One of them was replaced when the company
10· ·bought her a new one, sometime in December 2016, January
11· ·2017; correct?
12· · · ·A· · Correct.
13· · · ·Q· · We have at least one laptop that the company
14· ·bought for her; correct?
15· · · ·A· · Correct.
16· · · ·Q· · And you don't know whether the one she's using
17· ·today was the one you backed up her old phone to?
18· · · ·A· · I'm not sure.
19· · · ·Q· · Okay.· Does Sue -- has Sue ever had a tablet,
20· ·iPad?
21· · · ·A· · I believe she had an iPad Mini.
22· · · ·Q· · Was that a gift from the company?
23· · · ·A· · I don't know.
24· · · ·Q· · When's the last time you saw Sue use the iPad
25· ·Mini?


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                                                          EsquireSolutions.com
                                EXHIBIT A - 11
                                                                                YVer1f




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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       36

·1· · · ·A· · I've never seen her use it.
·2· · · ·Q· · How did you know she had it?
·3· · · ·A· · It was around -- it was the same time I
·4· ·transferred the data from her phone that I also reset
·5· ·that iPad.
·6· · · ·Q· · Okay.· So we're back in the December 2016,
·7· ·January 2017 time frame; right?
·8· · · ·A· · Correct.
·9· · · ·Q· · All right.· So we got a new device.
10· · · · · · Sue asked you to back up her existing phone to
11· ·her laptop and then transfer from her laptop to a new
12· ·iPhone; right?
13· · · ·A· · Right.
14· · · ·Q· · At that same time frame, Sue asked you to reset
15· ·her iPad Mini?
16· · · ·A· · She didn't ask me to.· She had said it was
17· ·locked up and she didn't know the password, didn't know
18· ·how to get into it anymore.· She asked me if I knew how
19· ·to get the password out, and I said the only way was to
20· ·reset it.
21· · · ·Q· · Okay.· And did she ask you to reset it?
22· · · ·A· · Yes.
23· · · ·Q· · Okay.· So at some point in December of 2016,
24· ·January 2017, at Sue's request, you reset her iPad Mini?
25· · · ·A· · Yes.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       37

·1· · · ·Q· · What do you mean by "reset"?
·2· · · ·A· · I basically put it in, like, a recovery mode
·3· ·and plugged it into, you know, Apple IOS again, and just
·4· ·reset the whole laptop to -- as if it was, you know,
·5· ·like new.
·6· · · ·Q· · When you said "laptop," did you mean tablet?
·7· · · ·A· · I plugged in the tablet to the laptop to reset
·8· ·it.
·9· · · ·Q· · When you say "reset it," is that wipe it?
10· · · ·A· · Yes.
11· · · ·Q· · Okay.· So the iPad Mini got wiped?
12· · · ·A· · Yes.
13· · · ·Q· · Did the laptop get wiped?
14· · · ·A· · No.· Shouldn't have.
15· · · ·Q· · Okay.· What was wrong with the phone she wanted
16· ·to move over to her new phone?
17· · · ·A· · It was just old, slow.
18· · · ·Q· · After you moved -- backed up the old iPhone to
19· ·the laptop, did you wipe the old iPhone?
20· · · ·A· · I don't remember.
21· · · ·Q· · Do you know what happened to it?
22· · · ·A· · I gave it back to her.
23· · · ·Q· · Do you know what she did with it?
24· · · ·A· · I don't know.
25· · · ·Q· · Have you ever seen it again after that day?


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       40

·1· ·and I know those have been out in the last year.
·2· ·BY MR. IVY:
·3· · · ·Q· · Okay.· That's a fair clarification.
·4· · · · · · Employees generally have the latest iPhones at
·5· ·Whenever?
·6· · · ·A· · Yes.
·7· · · ·Q· · Okay.· The employees right now have iPhone Xs?
·8· · · ·A· · I don't know what they have.
·9· · · ·Q· · Okay.· When you said they have the newer
10· ·versions, what are you referring to?
11· · · ·A· · Some have Pluses, which are the larger phones.
12· ·I don't know.· I think maybe one person has an iPhone X,
13· ·maybe two.· I'm not sure.
14· · · ·Q· · To your understanding, have most employees --
15· ·from September of 2006 to the present, is it your
16· ·understanding that most of the Whenever employees have
17· ·replaced whatever iPhones they have with newer versions
18· ·sometime in that time frame?
19· · · ·A· · I'm sorry.· Can you repeat that again?
20· · · ·Q· · Sure.
21· · · · · · In the time frame, September 2016 to today, is
22· ·it your understanding that most, if not all, of Whenever
23· ·employees have swapped out their older iPhone for a
24· ·newer version sometime in that time frame?
25· · · ·A· · Yes.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       41

·1· · · ·Q· · And have you helped any employees that have
·2· ·swapped out their iPhones during that time frame with
·3· ·the newer version to move any data or back them up?
·4· · · ·A· · No.
·5· · · ·Q· · Just Sue?
·6· · · ·A· · Yes.
·7· · · ·Q· · And as far as your understanding that the
·8· ·employees have moved to newer iPhones during this time
·9· ·period, is that based solely upon what you see?
10· · · ·A· · Yes.
11· · · ·Q· · Okay.· Have you ever had any conversations with
12· ·any of the employees other than Sue --
13· · · · · · MR. IVY:· Counsel --
14· · · · · · MR. MIKLIA:· She's taking pictures.
15· · · · · · MS. BLANCO:· I'll shut my phone off.
16· · · · · · MR. MIKLIA:· Is she recording or just taking
17· ·pictures?
18· · · · · · MS. BLANCO:· No.· I'm not recording.
19· ·BY MR. IVY:
20· · · ·Q· · As far as your knowledge of employees replacing
21· ·iPhones with newer versions during the last couple
22· ·years, other than Sue, have you ever talked with anyone
23· ·where they told you they've actually replaced their
24· ·iPhone with a newer version during that time frame?
25· · · ·A· · Yes.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       47

·1· · · ·Q· · Okay.· I know these are annoying, but I got to
·2· ·ask them, and we'll plow through.
·3· · · · · · To your knowledge, does Ryan have a desktop
·4· ·computer at Whenever?
·5· · · ·A· · Yes.
·6· · · ·Q· · Okay.· Who's Callie Parsons?· Who's Callie
·7· ·Parsons?
·8· · · ·A· · Oh, also a coworker.
·9· · · ·Q· · What's she do?
10· · · ·A· · Sales agent.
11· · · ·Q· · How long has she been working at Whenever?
12· · · ·A· · Since I've been there; so at least four years.
13· · · ·Q· · Does Callie have a cell phone?
14· · · ·A· · Yes.
15· · · ·Q· · Does Callie have more than one cell phone?
16· · · ·A· · I don't know.
17· · · ·Q· · You don't know one way or another?
18· · · ·A· · I don't know one way or another.
19· · · ·Q· · Do you know if Callie has replaced her cell
20· ·phone in the last year and a half?
21· · · ·A· · I don't know.
22· · · ·Q· · Okay.· Do you know if Callie has any tablets,
23· ·iPad Mini, something of that sort?
24· · · ·A· · I don't know.
25· · · ·Q· · Do you know if Callie has a laptop?


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       48

·1· · · ·A· · I believe so.
·2· · · ·Q· · Okay.· Do you know if the company bought that
·3· ·laptop for her?
·4· · · ·A· · Yes.
·5· · · ·Q· · How do you know that?
·6· · · ·A· · There was like a SPIF at one time, like a goal
·7· ·to hit for sales agents, and I believe they hit the
·8· ·goal; so they got laptops.
·9· · · ·Q· · All the sales agents?
10· · · ·A· · From my understanding, yes.
11· · · ·Q· · When, approximately, was that?
12· · · ·A· · Two to three years ago.
13· · · ·Q· · To your knowledge, did the sales agents
14· ·actually use the laptops?
15· · · ·A· · I don't know.
16· · · ·Q· · Do you see them?· Do you see them around the
17· ·office with the laptops?
18· · · ·A· · I don't know that.· Most of us work from a
19· ·desktop.
20· · · ·Q· · Okay.· But at least all the sales agents that
21· ·were here two to three years ago have a company-provided
22· ·laptop; fair?
23· · · ·A· · Yes.
24· · · ·Q· · And just so I have it in one spot, list as best
25· ·you can -- and you can use this if you want.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       51

·1· · · ·A· · No.
·2· · · ·Q· · Have you had any tablets, iPad Mini, iPads,
·3· ·over the last couple of years?
·4· · · ·A· · Myself?· No.
·5· · · ·Q· · When you say yourself...
·6· · · ·A· · My children do.
·7· · · ·Q· · Okay.· Fair enough.· Mine too.· I don't get to
·8· ·use it.
·9· · · ·A· · Yeah.· No.
10· · · ·Q· · You have a desktop at Whenever that you use?
11· · · ·A· · Yes.
12· · · ·Q· · Okay.· And has the desktop that you use ever
13· ·been reformatted or replaced during the last couple of
14· ·years?
15· · · ·A· · Yes.
16· · · ·Q· · Okay.· When was that?
17· · · ·A· · Recently, in the last two to four months.
18· · · ·Q· · Were everyone's desktops reformatted or just
19· ·yours?
20· · · ·A· · A few of us.
21· · · ·Q· · Okay.· Who?
22· · · ·A· · I don't know for sure who else, but I believe
23· ·Trinh, Barry, myself.
24· · · ·Q· · What was done to your desktops?
25· · · ·A· · Meaning the old ones?· Or which desktops?


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       52

·1· · · ·Q· · No.· I'm sorry.
·2· · · · · · What was the switch?
·3· · · ·A· · We just --
·4· · · ·Q· · Were they --
·5· · · ·A· · -- got new --
·6· · · ·Q· · Sorry.· I'm cutting you off.· I broke my own
·7· ·rule.
·8· · · · · · Were they actually replaced with new ones?
·9· · · ·A· · Yes.
10· · · ·Q· · And that was in the last three to four months?
11· · · ·A· · Yes.
12· · · ·Q· · And that was for you, Trinh, and Barry at
13· ·least?
14· · · ·A· · That I'm aware of.
15· · · ·Q· · Why were they replaced, to your understanding?
16· · · ·A· · We just had really old computers, and they were
17· ·slow.
18· · · ·Q· · Okay.· So in the last three to four months, you
19· ·three, at least, got new desktop computers?
20· · · ·A· · Yes.
21· · · ·Q· · Okay.· Did you back up the information from
22· ·your old laptop -- I mean old desktop?
23· · · ·A· · I did not do it, no.
24· · · ·Q· · To your knowledge, did anybody else?
25· · · ·A· · Yes.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       54

·1· · · ·Q· · Okay.· Regardless of who ordered it, are you
·2· ·aware of any employees replacing the hard drive on any
·3· ·of their desktops in the last couple of years?
·4· · · ·A· · I don't know.
·5· · · ·Q· · Regardless of who asked for it, are you aware
·6· ·of any employees having their desktop reformatted or
·7· ·wiped in the last couple of years?
·8· · · ·A· · I don't know.
·9· · · ·Q· · What happened to Filip's desktop?
10· · · ·A· · I don't know.· I think -- he just asked me to
11· ·order some parts.
12· · · ·Q· · Does Whenever have an IT person?
13· · · ·A· · Not really.
14· · · ·Q· · Okay.· Who's Jeff Kruse?
15· · · ·A· · Jeff, he's a coworker.
16· · · ·Q· · What's he do?
17· · · ·A· · He does sales and HR.
18· · · ·Q· · Does he have a cell phone?
19· · · ·A· · Yes.
20· · · ·Q· · How many?
21· · · ·A· · I believe one.
22· · · ·Q· · Do you know what kind?
23· · · ·A· · iPhone, I believe.
24· · · ·Q· · Did the company buy him that iPhone?
25· · · ·A· · I don't know.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       55

·1· · · ·Q· · Do you know how long he's had it?
·2· · · ·A· · I don't know.
·3· · · ·Q· · Do you know if Jeff Kruse has replaced or
·4· ·reformatted his iPhone in the last couple of years?
·5· · · ·A· · He has.
·6· · · ·Q· · When did Jeff replace or reformat his iPhone?
·7· · · ·A· · I believe within the last year as well, maybe
·8· ·year and a half.
·9· · · ·Q· · Is that in the December 2016, January 2017 time
10· ·frame?
11· · · ·A· · No, I don't -- I don't think so, but I'm not
12· ·sure.
13· · · ·Q· · What's your best estimate as to when -- what
14· ·did Jeff do?· Let me back up.
15· · · ·A· · He just got a new phone.
16· · · ·Q· · Okay.· Do you know why he got a new phone?
17· · · ·A· · He also had a really old iPhone.
18· · · ·Q· · Did the company gift him a new one?
19· · · ·A· · I don't know.
20· · · ·Q· · What's your best estimate as to when Jeff got a
21· ·new iPhone?
22· · · ·A· · I don't know.· Within the last two years.
23· · · ·Q· · Do you know if it was before or after Sue got
24· ·her new iPhone?
25· · · ·A· · I don't know.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       56

·1· · · ·Q· · All right.· So at least as to Jeff then -- I
·2· ·don't see a cell phone here.
·3· · · · · · He's had two cell phones in the last two years
·4· ·or so; correct?· To your knowledge?
·5· · · ·A· · From my knowledge -- to my knowledge, yes.
·6· · · ·Q· · Who's Filip Kvasny?
·7· · · ·A· · Filip.
·8· · · ·Q· · Dang it.
·9· · · · · · Filip Kvasny?
10· · · ·A· · He's a coworker.
11· · · ·Q· · What does he do?
12· · · ·A· · Sales.
13· · · ·Q· · Does he have a cell phone?
14· · · ·A· · Yes.
15· · · ·Q· · Do you know how many?
16· · · ·A· · I don't know.
17· · · ·Q· · Does he have a desktop?
18· · · ·A· · Yes.
19· · · ·Q· · Does he have a tablet?
20· · · ·A· · I don't know.
21· · · ·Q· · Has Filip replaced his cell phone in the last
22· ·two years?
23· · · ·A· · I don't know.
24· · · ·Q· · Rafael Barragan?
25· · · ·A· · Uh-huh.


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    THIKRA BOLES                                                 April 23, 2018
    SATMODO vs WHENEVER COMMUNICATIONS                                       72

·1· · · · · · Okay.
·2· · · · · · Who's Barry Hipple?
·3· · · ·A· · He's also a tech.
·4· · · ·Q· · Does he have a cell phone?
·5· · · ·A· · Yes.
·6· · · ·Q· · More than one?
·7· · · ·A· · I don't know.
·8· · · ·Q· · Do you know if Barry has replaced or
·9· ·reformatted any cell phones in the last couple of years?
10· · · ·A· · I don't know.
11· · · ·Q· · Does Barry have a laptop?
12· · · ·A· · Yes.
13· · · ·Q· · Do you know if that's a company-provided
14· ·laptop?
15· · · ·A· · I believe so.
16· · · ·Q· · Was he one of the salespeople that got one?
17· · · ·A· · I think so, but I'm not positive.
18· · · ·Q· · Okay.· You know he has a laptop, and you think
19· ·it's from the company; fair?
20· · · ·A· · Yes.
21· · · ·Q· · Do you know how long Barry has had that laptop?
22· · · ·A· · I don't know.
23· · · ·Q· · Do you know if Barry replaced or reformatted
24· ·his laptop in the last year and a half?
25· · · ·A· · I don't know.


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     THIKRA BOLES                                                April 23, 2018
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·1· ·STATE OF CALIFORNIA)
· · · · · · · · · · · · )· ss.
·2· ·COUNTY OF SAN DIEGO)

·3

·4· · · · · · I, Aletha Loftfield, a licensed Certified

·5· ·Shorthand Reporter, duly qualified and certified as such

·6· ·by the State of California, do hereby certify:

·7· · · · · · That prior to being examined, the witness named

·8· ·in the foregoing deposition was by me duly sworn to

·9· ·testify to the truth, the whole truth, and nothing but

10· ·the truth;

11· · · · · · That the said deposition was by me recorded

12· ·stenographically at the time and place first therein

13· ·mentioned; and the foregoing pages constitute a full,

14· ·true, complete and correct record of the testimony given

15· ·by the said witness;

16· · · · · · That I am a disinterested person, not being in

17· ·any way interested in the outcome of said action, not

18· ·connected with, nor related to any of the parties in said

19· ·action, or to their respective counsel, in any manner

20· ·whatsoever.

21· · · · · · Executed this day, the 6th of May, 2018, at

22· ·San Diego, California.

23

24· · · · · · · · · · · _______________________________
· · · · · · · · · · · ·Aletha Loftfield, CSR No. 13767
25


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                                      Complete IP Address Inventory for All Business Locations, Home and Mobile sources

     Location or User     Current IP Address                                                                                      Type               Provider
                                                 Dates Active               Subnet or DHCP          Ip address range If any

                         Active Office IP Addresses
                         70.164.119.90                                     70.164.119.88/29                                                          Cox
     California Store                            l/lS/2017 to current                            70.164.119.89 - 70.164:119.94    Office   LAN
                         47.506.61.86                                       47.206.61.0/24        47.206.61.1-47.206.61.254                          Verizon
     Florida Store                               7/2016 to current                                                                Office   LAN
                         189.222.190.159                                         dhcp
     Mexico Store                                                                                                                 Office   LAN       satelite del norte
                         24.237.41.227                                           dhcp                                                                GGI
     Alaska Store                                                                                                                 Office   IAN

                          Discontinued Previous Office IP Addresses that could be confirmed from ISP

                         98.178.228.186                                           n/a                       n/a                                      Cox
     California Store                            7/1/2015 to 1/15/2017                                                         Office LAN
                         98.163.220.129                                    98.163.220.128/29                                                         Comcast
     Florida Store                               2011 to 8/9/2017                              98.163.220.129 - 98.163.220.134 Office LAN

                          Employee Mobile and Home Current IP Addresses

     SueShorees           68.7.139.226                                           dhcp                                             house              Cox
                                                 from June 2017
     SueShorees           107.77.230.208                                         dhcp                                                                AT&T
                                                 1*2 years                                                                        Cell phone
                          107.77.227.31                                          dhcp                                                                AT&T
    Sue Shorees                                  3-4 years                                                                        Cell phone
                          107.77.230.135                                         dhcp                                                                AT&T
    Angelo Shorees                               1-2 years                                                                        Cell phone
                          72.192.151.47                                          dhcp                                             house              COX
    Nicole Shore2                                from June 2010
                          72.42.145.107                                          dhcp                                             house              GCl
    Ryan Garces                                  last 24 month
                          107.77.205.92                                          dhcp                                                                GCI
    Ryan Garces                                  over 5 years                                                                     Cell phone
                          107.77.205.65                                          dhcp                                                                AT&T
    Ryan Garces                                  over 2 years                                                                     Cell phone
                          174.228.14.46                                          dhcp                                                                Verizon
    Callie Parsons                               over 2 years                                                                     Cell phone
                          99.203.11.21                                           dhcp                                                                Sprint
    Thikra Boles                                 1-2 years.                                                                       Cell phone
                          99.190.223.43                                          dhcp                                             house
    Jeff Kruse                                   over 2 years                                                                                        AT&T home
                          174.212.14.156                                         dhcp                                                                Verizon
    Filip Kvasny                                 2 Years                                                                          Cell phone
                          172.58.17.106                                          dhcp                                                                Tmobile
    Rafael Barragan                              1 Year                                                                           Cell phone
                          47.204.8.72                                            dhcp                                             House
    Ronnie Desantis                              over 5 years                                                                                        Frontier Communications
                          200.68.128.28                                          dhcp                                                                TelCel
    Joel Pineda                                  over 2 years                                                                    Cell phone
                          172.58.21.118                                          dhcp                                                                Tmobile
    Joel Pineda                                  over 2 years                                                                    Cell phone
                          99.203.11.37                                           dhcp                                                                AT&T
    Crystal Shorees Jack;                        Less than 1 year                                                                Cell phone
                          72.192.16498                                           dhcp                                            house               Cox
    Crystal Shorees Jack                         over 2 years
                          68.7.246:180                                           dhcp                                            house               Cox
    Eric Talman                                  over 2 years
                          172.58.21.239                                          dhcp
    Eric Talman                                  over 2 years                                                                     Cell phone         T Mobile
                          107.77.66.18                                           dhcp                                                                AT&T
    Janice Bentley                               over 2 years                                                                     Cell phone
                          70.181.188.125                                         dhcp                                             House-Jamul        Cox
    Tina Blanco                                  over 2 years
                          166.170.15.31                                          dhcp                                                                AT&T
    Tina Blanco                                  2 years                                                                         Cell phone
                          166.170.14.98                                          dhcp                                                                AT&T
    Tina Blanco                                  last 16 months                                                                  Cell phone
                          98.160.183.115                                         dhcp                                                                COX
    Tina bianco                                  since July 2016                                                                 House • Las Vegas
                          47:206.61.86                                           dhcp                                            office-current      Frontier
    Sarasota Office                              from July 2016 to today
                          174.228.132.19                                         dhcp                                                                Verizon
    Seann Coughlin                               over 2 years                                                                    Cell phone
                          107.77.100.90                                          dhcp                                                                AT&T
     Ronnie Desantis                             last 3-4 months                                                                 Cell phone
                          66.58.139.129                                          dhcp                                            Office-current      GCl
    Anchorage Office                             over 2 years
                          66.58.139.206                                          dhcp                                            Office-current      GCI
    Anchorage Office                             over 2 years
                          107.77..80.93                                          dhcp                                                                AT&T
    Gregory Pech                                 over 2 years                                                                    Cell phone
                          172.58.175.225                                         dhcp                                                                Tmobile
    Gregory Pech                                 over 2 years                                                                    Cell phone
                          47.195.255.218                                         dhcp                                            House               Frontier
    Gregory Pech                                 over 2 years
                          107.77:231.32                                          dhcp                                                                AT&T
    Nicole Shorez                                from June 2010                                                                  Cell phone
                          47.195.224.242                                         dhcp                                            House
    Callie Parsons                               over 3 years                                                                                        Frontier Communications
                          174.212.11.154                                         dhcp                                                                Verizon
    Barry Hippie                                 over 3 years                                                                    Cell phone
                          68.7.220.222                                           dhcp                                            House               AT&T
    Barry Hippie                                 1-2 years
                          172.58.17.106                                          dhcp                                                                TMobile
    Trinh La                                     Less than 1 year                                                                Cell phone
    TrinhLa               192.168.1.9            l-2years                        dhcp                                            House               Spectrum
                          68.7.246.180                                           dhcp                                                                AT&T
    Eric Talman                                  over 2 years                                                                    Cell phone

                         This IP address cannot be confirmed by Cox. It's potentially Tina's home IP address from the date range provided.
                                                                                                                                 jhbuse
    Itina bianco’       - l98a67.95.56V         |2013 tdJuly 2016 - ■'"           dhcp       T                                                       ctix,




                                                                                                                  Exhibit No. 2
                                                                                                                          BOLES                                 WC 000170
                                                                    EXHIBIT B - 1                                       04/23/2018

                                                                                                                         Esquire - AL                                 25
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•--• . d.-''A      -I-- HlTP'CdmpreSs1dn test7PTng;' Wb6^^^^
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'■'P.i::'A^-'.//'7.77--'i^nd Ao'w-Io's/';'7'7.A: • 4-'^'’7'4':::'''74'''’44-

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                                                                                   EXHIBIT B - 2
                                                                                                                                                                                                               26
